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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Shannon Frazier,                                )
                                                )
Plaintiff,                                      )
                                                )       No:
v.                                              )
                                                )
Allianceone Receivables Management,             )
Inc. a Delaware Corporation; and                )
Unknown Debt Collection Agents,                 )
Individually, and as agents, apparent           )
agents, servants, and/or employees of           )
Allianceone Receivables Management,             )
Inc.,                                           )
                                                )       JURY DEMANDED
Defendants.                                     )

                                  COMPLAINT AT LAW


NOW COMES Plaintiff, Shannon Frazier, by his Attorneys, Robert J. Semrad &
Associates, L.L.C., and pursuant to this Complaint at Law, states the following against
the above named Defendants, to wit: Allianceone Receivables Management, Inc., and
Unknown Debt Collection Agents.

                                      JURISDICTION

1.      The jurisdiction of the court is invoked pursuant to the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). Venue is proper as the actions that
give rise to this complaint occurred, Plaintiff resides, and Defendants conduct business
within this District.
                                          PARTIES

2.       Plaintiff is a citizen of the County of Cook, State of Illinois, and is a “consumer”
as that term is defined by 15 U.S.C. § 1692(a)(3).
3.      Defendant, Allianceone Receivables Management, Inc., (hereinafter
“Allianceone”) is Delaware Corporation conducting business in the County of Cook,
State of Illinois, and is a “debt collector” as that term is defined by 15 U.S.C. § 1692(a)(6).



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4.      Defendants, Unknown Debt Collection Agents, are natural persons conducting
business in the County of Cook, State of Illinois, and are each a “debt collector” as that
term is defined by 15 U.S.C. § 1692(a)(6).
5.      At all relevant times, Unknown Debt Collection Agents were the agents, apparent
agents, servants, and/or employees of Allianceone, and each was acting in the course and
scope of his or her agency, servitude and/or employment.


                                 FACTUAL ALLEGATIONS


6.      In 2010 and earlier, Plaintiff incurred a debt by making purchases with a Capital
One credit card
7.      This debt was for personal use.
8.      This debt was a “debt” as that term is defined by 15 U.S.C. § 1692(a)(5).
9.      On July 27, 2010, Plaintiff filed for Chapter 13 bankruptcy protection in the
Northern District of Illinois.
10.     The debt to Capital One was listed in Schedule F of Plaintiff’s bankruptcy
petition.
11.     Notice of Plaintiff’s bankruptcy was sent to Capital One by the Clerk of the
Bankruptcy Court for the Northern District of Illinois on July 28, 2010.
12.     Beginning in June, 2010, Unknown Debt Collection Agents, contacted Plaintiff
by telephone in an attempt to collect the debt.
13.     During a number of these telephone calls, Unknown Debt Collection Agents
threatened to garnish Plaintiff’s wages if he did not pay the debt.
14.     Unknown Debt Collection Agents had neither the ability, nor the intent to
garnish Plaintiff’s wages.
15.     During a number of these telephone calls, Unknown Debt Collection Agents
used profanity.
16.     A number of these telephone calls occurred after Plaintiff filed for bankruptcy.
17.     Plaintiff informed Unknown Debt Collection Agents of his bankruptcy during
the telephone calls that took place after Plaintiff filed bankruptcy.




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18.     Nevertheless, Unknown Debt Collection Agents continued to call Plaintiff in an
attempt to collect the debt despite notice of Plaintiff’s bankruptcy.
19.     During the aforementioned telephone calls, Unknown Debt Collection Agents
represented that they were calling on behalf of Allianceone in attempting to collect said
debt.


                                        COUNT I
             Plaintiff v. Allianceone and Unknown Debt Collection Agents
                            Fair Debt Collection Practices Act

1-19. Plaintiff restates and re-alleges paragraphs 1-19, as and for paragraphs 1-19 of
Count I, as though fully set forth herein.
20.     The aforementioned telephone calls from Unknown Debt Collection Agents, to
Plaintiff, were collection communications in violation of provisions of the FDCPA, as
aforesaid.
21.     As a direct and proximate result of the aforementioned actions, Plaintiff suffered
injuries of a personal and pecuniary nature including, but not limited to: anxiety,
embarrassment, and emotional harm, physical harm.
22.     As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to actual
damages pursuant to 15 U.S.C. § 1692(k)(a)(1); statutory damages in an amount up to
$1,000.00 per incident pursuant to 15 U.S.C. § 1692(k)(a)(2)(A); and reasonable
attorney’s fees and costs pursuant to 15 U.S.C. § 1692(k)(a)(3) from Defendants.


        WHEREFORE, Plaintiff prays that judgment be entered
       against Defendant, Allianceone, and Defendants, Unknown Debt Collection
Agents, Individually, and as agents, apparent agents, servants, and/or employees of
Allianceone, and each of them, and in favor of Plaintiff, for an award of actual damages
pursuant to 15 U.S.C. § 1692(k)(a)(1);
       against Defendant, Allianceone, and Defendants, Unknown Debt Collection
Agents, Individually, and as agents, apparent agents, servants, and/or employees of
Allianceone, and each of them, and in favor of Plaintiff, for an award of statutory damages
of $1,000.00 pursuant to 15 U.S.C. § 1692(k)(a)(2)(A);


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      against Defendant, Allianceone, and Defendants, Unknown Debt Collection
Agents, Individually, and as agents, apparent agents, servants, and/or employees of
Allianceone, and each of them, and in favor of Plaintiff, for an award of costs of litigation
and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692(k)(a)(3); and;
      for any other such further relief as may be just and proper.


                                        COUNT II
                                  Plaintiff v. Allianceone
                                        Negligence

1-19. Plaintiff restates and re-alleges paragraphs 1-19, as and for paragraphs 1-19 of
Count II, as though fully set forth herein.
20.    At all times relevant, Allianceone, by and through its agents, servants, and/or
employees, knew, or should have known, that Unknown Debt Collection Agents were
likely to violate provisions of the FDCPA when collecting debts from Plaintiff and
others, at the time it hired Unknown Debt Collection Agents.
21.    At all times relevant, Allianceone, by and through its agents, servants, and/or
employees, knew, or should have known, that Unknown Debt Collection Agents were
violating provisions of the FDCPA when collecting debts from Plaintiff and others,
throughout the employ of Unknown Debt Collection Agents.
22.    At all times relevant, Allianceone, by and through its agents, servants, and/or
employees, knew, or should have known, that Unknown Debt Collection Agents,
required proper training in order to comply with the FDCPA and that without proper
training were likely to violate the FDCPA.
23.    At all times relevant, Allianceone had a duty to exercise due care in the hiring,
retention, training, and supervision of the debt collectors in its employ.
24.    Notwithstanding the aforesaid duty, Allianceone, by and through its agents,
apparent agents, servants, and or employees breached their duty in one or more of the
following ways:
       a.      Carelessly and negligently hired Unknown Debt Collection Agents;
       b.      Carelessly and negligently failed to properly train Unknown Debt
               Collection Agents;



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        c.      Carelessly and negligently retained Unknown Debt Collection Agents;
                and
        d.      Carelessly and negligently, failed to properly supervise Unknown Debt
                Collection Agents.
25.     As a direct and proximate result of the aforementioned actions and/or omissions,
Unknown Debt Collection Agents violated the FDCPA as aforesaid while attempting to
collect a debt from Plaintiff.
26.     As a direct and proximate result of the aforementioned actions and/or omissions,
Plaintiff suffered injuries of a personal and pecuniary nature including, but not limited to:
anxiety, embarrassment, and emotional and physical harm.


WHEREFORE, Plaintiff prays that judgment be entered:


       against Defendant, Allianceone, and in favor of Plaintiff, for an award of actual
        damages;
       against Defendant, Allianceone, and in favor of Plaintiff, for an award of costs of
        suit; and
       for any other such further relief as may be just and proper.


                                        COUNT III
                                  Plaintiff v. Allianceone
                                 Willful, Wanton Behavior

1-19. Plaintiff restates and re-alleges paragraphs 1-19 of the common counts, as and for
paragraphs 1-19 of Count III, as though fully set forth herein.
20.     At all times relevant, Allianceone, by and through its agents, servants, and/or
employees, knew, or should have known, that Unknown Debt Collection Agents were
likely to violate provisions of the FDCPA when collecting debts from Plaintiff and
others, at the time it hired Unknown Debt Collection Agents.
21.     At all times relevant, Allianceone, by and through its agents, servants, and/or
employees, knew, or should have known, that Unknown Debt Collection Agents were




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violating provisions of the FDCPA when collecting debts from Plaintiff and others,
throughout the employ of Unknown Debt Collection Agents.
22.     At all times relevant, Allianceone, by and through its agents, servants, and/or
employees, knew, or should have known, that Unknown Debt Collection Agents,
required proper training in order to comply with the FDCPA and that without proper
training were likely to violate the FDCPA.
23.     At all times relevant, Allianceone had a duty to exercise due care in the hiring,
retention, training, and supervision of the debt collectors in its employ.
24.     Notwithstanding the aforesaid said duty, in conscious disregard to, and in utter
disregard for the rights of those it was attempting to collect from, including Plaintiff,
Allianceone, by and through its agents, apparent agents, servants, and or employees acted
willfully and wantonly in one or more of the following ways:
        a.      Willfully and wantonly hired Unknown Debt Collection Agents;
        b.      Willfully and wantonly failed to properly train Unknown Debt Collection
                Agents;
        c.      Willfully and wantonly retained Unknown Debt Collection Agents; and
        d.      Willfully and wantonly failed to properly supervise Unknown Debt
                Collection Agents.
25.     As a direct and proximate result of the aforementioned actions and/or omissions,
Unknown Debt Collection Agents violated the FDCPA as aforesaid while attempting to
collect a debt from Plaintiff.
26.     As a direct and proximate result of the aforementioned actions and/or omissions,
Plaintiff suffered injuries of a personal and pecuniary nature including, but not limited to:
anxiety, embarrassment, and emotional and physical harm.


WHEREFORE, Plaintiff prays that judgment be entered:


       against Defendant, Allianceone, and in favor of Plaintiff, for an award of actual
        damages;
       against Defendant, Allianceone, and in favor of Plaintiff, for an award of punitive
        damages;


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       against Defendant, Allianceone, and in favor of Plaintiff, for an award of costs of
        suit; and
       for any other such further relief as may be just and proper.

                                        COUNT IV
                                  Plaintiff v. Allianceone
                                Violation of 11 U.S.C. § 362

1-19. Plaintiff restates and re-alleges paragraphs 1-19 of the common counts, as and for
paragraphs 1-19 of Count IV, as though fully set forth herein.
20.     Upon filing his bankruptcy petition on July 27. 2010, the automatic stay went into
effect, pursuant to 11 U.S.C. § 362.
21.     Plaintiff’s oral notice of his bankruptcy to Unknown Debt Collection Agents,
constituted sufficient notice of his bankruptcy.
22.     Despite repeated oral notice of his bankruptcy, Unknown Debt Collection
Agents continued to call Plaintiff in an attempt to collect the debt.
23.     Said attempts were willful violations of the automatic stay as they were made
with knowledge of the bankruptcy.
24.     Plaintiff is entitled to actual damages, including attorney’s fees, and punitive
damages, for said willful violation of the automatic stay, pursuant to 11 U.S.C. § 362(k).
        WHEREFORE, Plaintiff prays that judgment be entered against Allianceone and
in favor of Plaintiff:
        a. for an award of actual damages, pursuant to 11 U.S.C. § 362(k);
        b. for an award of attorney’s fees, pursuant to 11 U.S.C. § 362(k);
        c. for an award of punitive damages, pursuant to 11 U.S.C. § 362(k); and
        d. for any other such further relief as may be just and proper.




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Respectfully Submitted,

/s/ Christian D. Elenbaas
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